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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


 MICHAEL PETERSON, et al.,
                         Plaintiffs,                   CIVIL ACTION FILE
 v.                                                    NO. 1:14-CV-1919-TWT

 AARON'S, INC., et al.,
                         Defendants.

                                       JUDGMENT

       This action having previously come before the Court, Honorable THOMAS W.

THRASH, JR., Chief United States District Judge, for consideration of Aaron’s Inc.’s Motion

for Summary Judgment, and the Court having GRANTED said motion by Order dated

October 3, 2017, it is

       Ordered and Adjudged that Plaintiffs Michael Peterson and Matthew Lyons take

nothing; that Defendant Aaron's, Inc. recover its costs of this action, and this action be and

the same hereby is DISMISSED.

       Dated at Atlanta, Georgia, this 15th day of August, 2018.

                                                         JAMES N. HATTEN
                                                         CLERK OF COURT and
                                                         DISTRICT COURT EXECUTIVE

                                                         By: s/J. Lee
                                                         Deputy Clerk
Prepared, Filed, and Entered
in the Clerk's Office
  August 15, 2018
James N. Hatten
Clerk of Court
By: s/J. Lee
     Deputy Clerk
